Case 2:25-cv-00899-APG-BNW Document2 _ Filed 05/21/25 Page 1of10

AO 440 (Rev. 06/12) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the
District of Nevada
)
ow LAC as [re co )
Plaintiff(s) )
v. 2:25-cv-00899-APG-BNW
)
)
SL emmeranaan Se 5
Defendant(s) — )
SUMMONS IN A CIVIL ACTION
| meee FILED —_ RECEIVED
To: (Defendant’s name and address) | ENTERED couse een |
Fran Ci mAavcyNlia~™
j | MAY 212)
|
| rear
A lawsuit has been filed against you. | BY: eee IDERUTY

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

Date: Sf 2029

Mature of Clerk or Deputy Clerk
Case 2:25-cv-00899-APG-BNW Document2_ Filed 05/21/25 Page 2 of 10

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No.

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (1))

This summons for (name of individual and title, if any)

was received by me on (date)

C1 I personally served the summons on the individual at (place)

on (date) 3 or

C I left the summons at the individual’s residence or usual place of abode with (name)

, a person of suitable age and discretion who resides there,

On (date)

, and mailed a copy to the individual’s last known address; or

OC I served the summons on (name of individual) , who is

designated by law to accept service of process on behalf of (name of organization)

on (date) ; or
O I returned the summons unexecuted because
C1 Other (specify):
My fees are $ for travel and $ for services, for a total of $ 0.00 .

I declare under penalty of perjury that this information 1s true.

Date:

Server’s signature

Printed name and title

Server's address

Additional information regarding attempted service, etc:
Case 2:25-cv-00899-APG-BNW Document2_ Filed 05/21/25 Page 3of10

AO 440 (Rev. 06/12) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the
District of Nevada
)
)
LD Case
a MLE SPO )
Plaintiff(s)
Vv.
2:25-cv-00899-APG-BNW
)
cna, )
_ CéAU TI _)
Defendant(s) )
SUMMONS IN A CIVEL ACTON RECEIVED
Yee ENTERED wee SERVED ON |
To: (Defendant's name and address) COUNSEL/PARTIES OF RECORD:

Miche Me Ces oth
MAY 21.2025

: CLERKUS DISTRICT COURT. =
' DISTRICT OF NEVADA |
A lawsuit has been filed against you. LEY: DEPUTY |

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are:

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

Date: $s z! | 2027S

sf Clerk or Deputy Clerk

Case 2:25-cv-00899-APG-BNW Document2 _ Filed 05/21/25 Page 4of10

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)
Civil Action No.

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (1)

This summons for (name of individual and title, if any)

was received by me on (date)

CT personally served the summons on the individual at (place)

on (date) ; Or

© I left the summons at the individual’s residence or usual place of abode with (name)

, 4 person of suitable age and discretion who resides there,

on (date) , and mailed a copy to the individual’s last known address; or
C} I served the summons on (name of individual) , who is
designated by law to accept service of process on behalf of (name of organization)

on (date) ; or
CJ I returned the summons unexecuted because ; or
1 Other (specify):
My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Date:

Server's signature

Printed name and title

Server's address

Additional information regarding attempted service, etc:
Case 2:25-cv-00899-APG-BNW Document2_ Filed 05/21/25 Page5of10

AO 440 (Rev. 06/12) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the
District of Nevada
)
)
‘) : : ,
co _f le C4) Th )
Plaintiff(s)
Vv.
2:25-cv-00899-APG-BNW
ty) a )
Bb. Lougue 3}
befaadnds )
SUMMONS IN A CIVIL ACTION
To: (Defendant s) name and address) EN ey — g ce IVED
LS renter Ae (tale k pe COUNSEL/PARTIES yg RECO
MAY 2 4 2025
CLER —
A lawsuit has been filed against you. BY bistaicr oe vey cou
Within 21 days after service of this summons on you (not counting the day you SET ed

or-60 days if you

are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attomey,

whose name and address are:

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.

You also must file your answer or motion with the court.

Date: _ a 21/2025

Case 2:25-cv-00899-APG-BNW Document2_ Filed 05/21/25 Page 6of10

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No.

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 ()

This summons for (name of individual and title, if any)

was received by me on (ate)

C) I personally served the summons on the individual at (place)

on (date) ; or

C1 I left the summons at the individual’s residence or usual place of abode with (name)

, a person of suitable age and discretion who resides there,

on (date) , and mailed a copy to the individual’s last known address; or
py

OI served the summons on (name of individual) , who is

designated by law to accept service of process on behalf of (name of organization)

on (date) ; or
©) I returned the summons unexecuted because ; or
1 Other (specify):
My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Date:

Server's signature

Printed name and title

Server's address

Additional information regarding attempted service, etc:
Case 2:25-cv-00899-APG-BNW Document2_ Filed 05/21/25 Page 7 of 10

AO 440 (Rev. 06/12) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the

District of Nevada

)
r )
. ? , )
Plaintiff(s)
Vv.
2:25-cv-00899-APG-BNW
a
Deedes
Defendant(s) )
SUMMONS IN A CIVIL ACTION
To: (Defendant's name and address) ——..F | LED R
2 oe ——— ENTERED —__ SERIED ON
At 5 us KoTe le p———__SCUNSEL'ERETIES OF REcoae
MAY 2 4 2025
‘ : CLERK US DISTR: T COU
A lawsuit has been filed against you. | oy DISTRICT OF acer
Within 21 days after service of this summons on you (not counting the zn DEP days if you

are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are:

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

Date: __8/21]2026.

Case 2:25-cv-00899-APG-BNW Document2 _ Filed 05/21/25 Page 8 of 10

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)
Civil Action No.

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 ())

This summons for (name of individual and title, if any)

was received by me on (date)

OC I personally served the summons on the individual at (place)

on (date) ; or

CI I left the summons at the individual’s residence or usual place of abode with (name)

, 4 person of suitable age and discretion who resides there,

on (date) and mailed ¢ a copy to the individual’s last known address; or

O} I served the summons on (name of individual) , who is

on (date) ; or
© I returned the summons unexecuted because ; or
O Other (pecify:
My fees are $ for travel and $ for services, for a total of $ 0.00

Server's signature

Printed name and title

Server’s address

Additional information regarding attempted service, etc:
Case 2:25-cv-00899-APG-BNW Document2 _ Filed 05/21/25 Page 9of10

AO 440 (Rev. 06/12) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the
District of Nevada
)
)
7 )
ci LD). Ces d= eee eee )
Plaintiff(s)
. ) 2:25-cv-00899-APG-BNW
)
_ . )
Moh C ve
wee A PGrf “ GUAT Qo )
Defendant(s) . )
SUMMONS IN A CIVIL ACTION
To: (Defendant’s name and address) meena FILED ——— RECEIVED
7 : . tenes ENTERED ne SERVED ON
CA. coh Cn ao _____ COUNSELPARTIES OF RECORD
MAY 2 1 2025
: CLERKS DISTRICT COURT
A lawsuit has been filed against you. oy DISTRICT CF NEWADA
Within 21 days after service of this summons on you (no antine 60 days if you

are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

CLERK OF COURT

Date: ot

Sighatuyf of Clerk or Deputy Clerk

Case 2:25-cv-00899-APG-BNW Document2 _ Filed 05/21/25 Page 10 of 10

AO 440 (Rev. 06/12) Summons ina Civil Action (Page 2)
Civil Action No.

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (I)

This summons for (name of individual and title, ifany)
was received by me on (date) .

C1 I personally served the summons on the individual at (place)

On (date) ; or

C1 I left the summons at the individual’s residence or usual place of abode with (name)

, a person of suitable age and discretion who resides there,
on (date)

, and mailed a copy to the individual’s last known address; or

© I served the summons on (name of individual)

, who is
designated by law to accept service of process on behalf of (name of organization)
on (date) ; Or
O} I returned the summons unexecuted because ; or
O Other (specify):
My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Date:

Server’s signature

Printed name and title

Server’s address

Additional information regarding attempted service, etc:
